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                                                                                                 3    1-1
UNITED STATES COURT OF INTERNATIONAL TRADE                                              FORM 1
  BASF CORPORATION

                                     Plaintiff,                         SUMMONS
            v.                                                          Court No.

  UNITED STATES,
                                     Defendant.

TO:        The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                       /s/ Mario Toscano
                                                       Clerk of the Court


                                                    PROTEST
 Port(s) of      4601 and ot other various ports          Center (if known): CEE 001
 Entry:
 Protest         4601-20-114051                           Date Protest Filed: 5-11-20
 Number:
                 BASF CORPORATION                                                12-17-24
 Importer:                                                Date Protest Denied:
 Category of Dry Vitamin D3100 GFP HP and Dry
              Vitamin D3100 HP
 Merchandise:

                             ENTRIES INVOLVED IN ABOVE PROTEST
       Entry               Date of           Date of            Entry             Date of      Date of
      Number                Entry          Liquidation         Number              Entry     Liquidation
91639089977             5-7-19           12-20-24
91639239986             5-7-19           12-20-24
See attached schedule




                                                            Name, Address, Telephone Number
                                                            and E-mail Address of Plaintiff's Attorney
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                                                                                                          3    1-2
                            CONTESTED ADMINISTRATIVE DECISION
                                       Appraised Value of Merchandise
                                            Statutory Basis                              Statement of Value

  Appraised:




  Protest Claim:


                                        Classification, Rate or Amount
                                            Assessed                                     Protest Claim

     Merchandise          Tariff Classification            Rate             Tariff Classification            Rate
 Dry Vitamin            HTSUS                          28,8                HTSUS                         Free
 D3100 GFP              Subheading                     cents/kg            subheading
 HP and Dry             2106,90,97 or                  plus 8.5%           2936,29.50
 Vitamin D3100          other various                  ad valorem
 HP                     subheadings

                                              Other
  State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:


  The issue which was common to all such denied protests:
  Whether the imported merchandise is properly classifiable under HTSUS
  subheading 2936.29.50.
Every denied protest included in this civil action was filed by the same above-named importer, or person authorized under
19 U.S.C. § 1514(c)(2). The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid.

                                              ______________________________________________
                                                                  Signature of Plaintiff's Attorney
                                              /s/ Frederic D. Van Arnam, Jr. 6/3/25
                                              __________________________________________________________
                                                                   Date
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           A                  B                       C                        D                   E                 F
1                                                    Schedule of Protests          (CEE:001)
2
3      Protest No.    Date Protest Filed      Date Protest Denied           Entry No           Entry Date         Liq Date
4
5                                 5/11/2020               12/17/2024    91639089977                5/7/2019                  12/20/2024
     4601-20-114051
6                                                                       91639239986                5/7/2019                  12/20/2024
7
8    4601-20-117171               6/30/2020               12/13/2024    91638822105                4/9/2019                    3/6/2020
9
10   4601-24-137137                4/3/2024               12/10/2024    KH525030954               12/5/2022                  10/27/2023

11
12   4601-20-118686               7/29/2020               12/13/2024    91639787513               7/10/2019                    6/5/2020
13
14   4601-24-137291               5/22/2024               12/13/2024    KH525036464                2/4/2023                  12/29/2023
15
16   4601-24-137293               5/22/2024                 3/6/2025    KH525041746               3/13/2023                   2/16/2024
17
18   4601-24-137657               8/14/2024               12/13/2024    KH525043528                4/4/2023                    3/1/2024
19
20   4601-24-137726                9/5/2024               12/13/2024    KH525045226               4/26/2023                   3/22/2024
21                                 9/6/2024                             KH525049301               4/26/2023                   5/10/2024
22
23   4601-24-137773               9/23/2024               12/12/2024    KH525046687                5/9/2023                    4/5/2024
24
25   4601-24-137779               9/24/2024               12/13/2024    KH525048527                6/6/2023                    5/3/2024
26
27   4601-24-137914            11/15/2024                   4/2/2025    KH525053329               7/25/2023                   6/21/2024
28
29   4601-24-137970               12/3/2024                 4/2/2025    KH525055357               8/13/2023                    7/5/2024
30
31   4601-25-138194                2/5/2025                 4/4/2025    KH525060050               10/1/2023                   8/23/2024
32
33   4601-24-137944                2/5/2025                2/21/2025    KH525054871               8/13/2023                    7/5/2024
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